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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                              LEWIS T. BABCOCK, JUDGE

  Civil Case No. 17-cv-01191-LTB-NRN

  ELLIS WILLIAMS,

         Plaintiff,

  v.

  UNITED/CONTINENTAL,

        Defendant.
  ________________________________________________________________________

                                   ORDER
  ________________________________________________________________________


         Upon Plaintiff’s Motion for Extension of Time to File Objections to Magistrate Judge’s

  Report (Doc 111 - filed October 15, 2019), and upon review of the file herein, it is

         ORDERED that the Motion is GRANTED up to and including October 31, 2019.


                                                    BY THE COURT:


                                                      s/Lewis T. Babcock
                                                    Lewis T. Babcock, Judge

  DATED: October 16, 2019
